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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: GENERIC PHARMACEUTICALS                    MDL 2724
 PRICING ANTITRUST LITIGATION                      16-MD-2724

                                                   HON. CYNTHIA M. RUFE
 THIS DOCUMENT RELATES TO:

 Cigna Corp. v. Actavis Holdco U.S., Inc. et al.   Civil Action No. 20-2711


                                            ORDER

        AND NOW, this 21st day of August 2020, upon consideration of the attached Joint

Stipulation to Waive Service and Extend the Deadline for Defendants to Respond to Plaintiff

Cigna Corp.’s June 9, 2020 Complaint, it is hereby ORDERED that the Stipulation is

APPROVED.

       IT IS SO ORDERED.

                                                   BY THE COURT:

                                                   /s/ Cynthia M. Rufe

                                                   ______________________________
                                                   CYNTHIA M. RUFE, J.
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                          IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA



 IN RE: GENERIC PHARMACEUTICALS                           MDL 2724
 PRICING ANTITRUST LITIGATION                             16-MD-2724


 THIS DOCUMENT RELATES TO:                                HON. CYNTHIA M. RUFE
 Cigna Corp., v. Actavis Holdco U.S., Inc., et al.        Individual Case No. 2:20-cv-02711-
                                                          CMR


            JOINT STIPULATION TO WAIVE SERVICE AND EXTEND THE
             DEADLINE FOR DEFENDANTS TO RESPOND TO PLAINTIFF
                    CIGNA CORP.’S JUNE 9, 2020 COMPLAINT


       WHEREAS, Plaintiff Cigna Corp. (“Cigna”) filed a complaint in the above-captioned

matter on June 9, 2020 (“Cigna’s June 9, 2020 Complaint”), which has been centralized for

pretrial proceedings as part of In re Generic Pharmaceuticals Pricing Antitrust Litigation, Case

No. 16-md-02724-CMR, MDL No. 2724 (the “MDL”);

       WHEREAS, Cigna’s June 9, 2020 Complaint is based on substantially similar facts and

allegations as those raised against certain Defendants in the complaint filed by Plaintiff States on

May 10, 2019 in State of Connecticut et al. v. Teva Pharmaceuticals USA, Inc. (the “Plaintiff

States’ May 10, 2019 Complaint”), Case No. 19-cv-2407-CMR, which has also been centralized

for pretrial proceedings as part of MDL 2724;

       WHEREAS, in an Order dated July 25, 2019, the Court adjourned responsive pleadings

and/or motions to the Plaintiff States’ May 10, 2019 Complaint until such time as the Court

enters an order setting a schedule for responses to that complaint (see MDL Doc. No. 1058,

approving stipulation);
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       WHEREAS, the parties agree that responses to the pleadings in this action should be

accomplished efficiently and in consideration of the Court’s existing scheduling orders in the

MDL;

       WHEREAS, Defendants Actavis Holdco U.S., Inc., Actavis Elizabeth, LLC, Actavis

Pharma, Inc., Alvogen, Inc., Amneal Pharmaceuticals, Inc., Apotex Corp., Ascend Laboratories,

LLC, Aurobindo Pharma USA, Inc., Bausch Health Americas, Inc., Bausch Health US, LLC,

Breckenridge Pharmaceutical, Inc., Camber Pharmaceuticals, Inc., Citron Pharma, LLC, Dr.

Reddy’s Laboratories Inc., Fougera Pharmaceuticals Inc., Generics Bidco I, LLC, Glenmark

Pharmaceuticals Inc., USA, G&W Laboratories, Inc., Heritage Pharmaceuticals Inc., Hikma

Pharmaceuticals USA Inc. F/K/A West-Ward Pharmaceuticals Corp., Impax Pharmaceuticals,

LLC F/K/A Impax Pharmaceuticals, Inc., Lannett Company, Inc., Lupin Pharmaceuticals, Inc.,

Mayne Pharma, Inc., Morton Grove Pharmaceuticals, Inc., Mylan, Inc., Mylan, N.V., Mylan

Pharmaceuticals, Inc., Oceanside Pharmaceuticals, Inc., Par Pharmaceutical Companies, Inc., Par

Pharmaceutical, Inc., Perrigo New York, Inc., Sandoz, Inc., Sun Pharmaceutical Industries, Inc.,

Taro Pharmaceuticals USA, Inc., Teligent, Inc., Teva Pharmaceuticals USA, Inc., Upsher-Smith

Laboratories, LLC, Wockhardt USA LLC, and Zydus Pharmaceuticals (USA) Inc. (collectively

“Waiving Defendants”) have agreed to waive service of Cigna’s June 9, 2020 complaint and the

parties have reached an agreement to extend the time within which the Waiving Defendants must

move against, answer, or otherwise respond to Cigna’s June 9, 2020 Complaint;

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the

undersigned counsel, on behalf of their respective clients, as follows:

       1.      The Waiving Defendants waive service of Cigna’s June 9, 2020 Complaint and

Summonses pursuant to Federal Rule of Civil Procedure 4(d), and this stipulation shall be

deemed proof of that waiver pursuant to Federal Rule of Civil Procedure 4(d)(4).
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       2.       The deadline for the Waiving Defendants to move against, answer, or otherwise

respond to Cigna’s June 9, 2020 Complaint is ADJOURNED until such time as the Court orders

for the filing of response(s) to complaints that were filed on or after May 10, 2019.

       3.       This stipulation does not constitute a waiver by the Waiving Defendants of any

defense, including but not limited to those defenses provided under Federal Rule of Civil

Procedure 12.



       IT IS SO STIPULATED.


Dated: July 20, 2020



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                                     Defendants’ Liaison Counsel


                                      APPROVED BY THE COURT:
                                      XXXXXXXXXXXXXXXXXXXXXXX
                                      ________________________________
                                      The Honorable Cynthia M. Rufe
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